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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS

                            SAN ANTONIO DIVISION


LOGAN PAUL,

                         Plaintiff,
                                                    Civil Action No. 5:24-cv-00717
      v.

STEPHEN FINDEISEN AND COFFEE BREAK
PRODUCTIONS LLC D/B/A COFFEEZILLA,

                         Defendants.




  PLAINTIFF LOGAN PAUL’S RESPONSE IN OPPOSITION TO DEFENDANTS’
            MOTION TO TRANSFER AND STAY PROCEEDINGS
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       Plaintiff Logan Paul files this Response in Opposition to the Motion to Transfer and Stay

Proceedings (the “Motion to Transfer and Stay”) brought by Defendants Stephen Findeisen and

Coffee Break Productions, LLC d/b/a Coffeezilla on April 15, 2025. [Dkt. No. 82]. Plaintiff

submits that for the reasons set forth herein, the “first-to-file” rule underlying Defendants’ Motion

is inapplicable, and in any event compelling circumstances weigh decidedly against the requested

transfer and stay, and as such the Court should exercise its discretion to deny the Motion.

                                        INTRODUCTION

       Defendants’ Motion to Transfer and Stay is their latest and most desperate attempt to grind

this case to a halt and avoid accountability for the immense reputational harm caused by the false

statements underlying Plaintiff’s libel claims, statements in which Defendant Findeisen repeatedly

accused Plaintiff of orchestrating a financial scam in connection with a troubled blockchain-based

game called CryptoZoo. Invoking the “first-to-file” rule, Defendants argue there is “substantial

overlap” between this case and a putative class action pending in the Austin Division of this

District, Holland v. CryptoZoo, 23-CV-00110-ADA-RCG (W.D. Tex.). Given this supposed

overlap, Defendants ask that this case be transferred to the Holland Court for a determination of

whether this case should be abated or consolidated. Defendants also ask that this case be stayed

pending a ruling on whether substantial overlap exists. Fortunately, this Court has the discretion

to deny Defendants’ baseless Motion and put an end to their gamesmanship.

       Defendants’ Motion is brought almost an entire year into this case and should be denied as

untimely for that reason alone. Indeed, Defendants spent the past ten months as full and active

participants in this case—negotiating a proposed scheduling order, serving and responding to

multiple rounds of discovery requests, issuing several dozen non-party subpoenas, preparing a

privilege log of 16,000 entries, conducting depositions, conferring about and litigating discovery



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disputes, challenging hundreds of Plaintiff’s confidentiality designations under a negotiated

Protective Order, retaining a testifying expert, and recently filing what they had hoped would be a

case-dispositive Motion for Judgment on the Pleadings. In all that time, Defendants never once

raised—even informally—a supposed concern about the propriety of this case proceeding in

tandem with the Holland litigation, which they have known about since day one. On the day this

case was filed, Holland had already been pending for nearly a year and a half. What’s more,

discovery in this case has revealed that Defendant Findeisen is a consulting expert for the Holland

plaintiffs; he was engaged by the plaintiffs’ counsel before that case had even been filed, making

Defendants’ delay even more inexcusable.

       The reality is that Defendants are improperly treating the first-to-file rule as a “break glass

in case of emergency” option to try and pause and push the re-set button on this case. As discussed

herein, at one point in time, several Government agencies were investigating the circumstances

surrounding the failure of CryptoZoo.        With Defendant Findeisen having prompted those

investigations (it appears single-handedly), Defendants had hoped that the Government would see

fit to intervene and move to stay this case. When that did not happen, and when the investigations

themselves instead fizzled out and went nowhere—likely because Findeisen had misled the

Government into opening the investigations in the first place based on the same unsubstantiated

scam accusations at issue here—Defendants filed a Motion for Judgment on the Pleadings and

asked the Court to stay all discovery pending its ruling. It was only when the Magistrate Judge

recently issued a Report and Recommendation in which he recommended that Defendants’ Motion

for Judgment be denied, and accordingly denied Defendants’ request for a stay of discovery, that

Defendants regrouped and concocted new grounds for seeking similar relief.




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       The first-to-file rule, however, is inapplicable here. This case does not substantially

overlap with Holland merely because Plaintiff’s intent on CryptoZoo (i.e., whether he intended to

scam his fans) is an issue that could arise in both cases. This case centers on libelous statements

made by Defendant Findeisen after Holland was already pending. Moreover, it is impossible to

even identify a “core issue” in Holland given the number of claims and parties, and given that the

case is still at the motion to dismiss stage and it is unclear which of the 27 causes of action alleged

in the plaintiffs’ scattershot pleading, if any, will even survive dismissal. Even if this Court does

find substantial overlap between the two cases, compelling circumstances exist that weigh heavily

against applying the rule under the circumstances, including the untimeliness of the Motion and

the strategic procedural maneuvering behind it, the significant procedural differences between the

cases, the fact that this case is much further advanced, and the delay and resulting prejudice that

would follow in the event the Motion is granted. Simply put, Defendants’ Motion is at odds with

the interests of efficiency and sound judicial administration that the first-to-file rule is intended to

promote, and as such the Motion should be denied.

                                          BACKGROUND

                   The CryptoZoo Project and Defendants’ Three-Part Series

       In early 2021, Plaintiff had an idea for a blockchain-based game that he ultimately named

CryptoZoo. Plaintiff considered CryptoZoo his passion project, and he assembled a team that

claimed to have the technical expertise to bring his idea to life. In relevant part, this team included

Eduardo (“Eddie”) Ibanez, who was responsible for leading the game’s development efforts, and

Jake Greenbaum (a/k/a “Crypto King”), who was responsible for advising on the blockchain and

cryptocurrency-related aspects of the game, including the creation of an in-game currency called

“ZOO Tokens.” Regrettably, the project never came to full fruition, largely because of the



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incompetence and deceit of Ibanez and Greenbaum. Ibanez repeatedly misled Plaintiff about the

progress of the game’s development, and Greenbaum proved more interested in trying to profit

from the unauthorized, behind-the-scenes sale of Tokens than in actually helping to build a

legitimate game. Plaintiff and his team spent months from the fall of 2021 to the end of 2022

trying to fix the development quagmire that Ibanez had created—which included spending large

sums to hire new development teams—but the problems ultimately proved insurmountable.

       At the end of 2022, Defendants released a three-part YouTube series about CryptoZoo that

repeatedly and falsely accused Plaintiff of having orchestrated the entire project as a scam.

Defendant Findeisen titled each of the three parts as follows: “Investigating Logan Paul’s Biggest

Scam,” “The Biggest Fraud in Logan Paul’s Scam,” and “Ending Logan Paul’s Biggest Scam.”

The series was immensely popular and garnered significant publicity, and to date the three videos

have been viewed more than 24 million times. Plaintiff’s initial reaction to the series was one was

one of hurt and anger given that he had the best of intentions on the project, but he tabled his

frustration and instead focused his energy on a first-of-its kind initiative to buy back CryptoZoo

NFTs from disappointed holders—even though he had not personally received the funds that were

used to purchase the NFTs in the first place. Plaintiff ultimately spent more than $1 million of his

own money to make the buyback a success. Findeisen complimented Plaintiff at the time of his

buyback announcement in January 2023, expressing his belief that Plaintiff was not a “bad actor”

and acknowledging that he had simply surrounded himself with the wrong people.

       But Defendant Findeisen’s popularity had soared on the back of his scam allegations

against Plaintiff, and he was committed to ensuring that popularity and all of its attendant benefits

would continue. In June 2023, six months after Plaintiff announced the buyback, Findeisen

renewed his attacks against Plaintiff. On June 29, 2023, June 30, 2023, and January 5, 2024,



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Findeisen published the respective false statements underlying Plaintiff’s libel claims in this case,

in each of which Findeisen continued to assert that CryptoZoo was a scam and a fraud conceived

of and carried out by Plaintiff. Plaintiff filed this lawsuit in June 2024 to clear his name and hold

Defendants accountable for the ongoing harm caused by these knowingly false statements.

                           Government Investigations into CryptoZoo

       Relevant to the false and misleading narrative that Defendants advance in their Motion to

Transfer and Stay, on October 23, 2022, several months before the release of his YouTube series,

Findeisen contacted the United States Government, including the SEC, about CryptoZoo.

Findeisen prepared for the Government a PowerPoint presentation (or as he called it, a

“whistleblower report”) that he claimed was “an encapsulation of the entire CryptoZoo scheme”

his investigation had uncovered. See Exhibit 1 (emphasis added). As with the titles he ultimately

settled upon for his series, and as with the libelous statements at issue in this case, Findeisen set

the tone and put the title of his presentation to work by accusing Plaintiff of wrongdoing on the

project: “Popular Influencer Logan Paul Defrauds Fans with ‘Blockchain Play-to-Earn Game’

That Doesn’t Work.” Id. (emphasis added). What Findeisen failed to disclose to the Government,

however, was that nobody with any personal knowledge or involvement in the project had

conveyed to Findeisen—ever—that Plaintiff had acted with bad intent; they had told him the exact

opposite.

       One striking example comes from one of Findeisen’s interviews with Luciano (“Skip”)

Schipelliti, who was a longtime CryptoZoo community leader, and whose company BlockOps

served as CryptoZoo’s lead developer in 2022. On October 20, 2022—i.e., just three days before

Findeisen submitted his presentation to the Government falsely accusing Plaintiff of defrauding

his own fans—the topic of Plaintiff’s intent came up in Findeisen’s discussion with Schipelliti.



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Findeisen, speaking candidly and apparently without knowledge that the conversation was being

recorded, mused as follows:

             There’s this real sense that I get of like, and tell me if you kind of agree,
             this sense of incompetency . . . Part of it is like, part of it—I think they
             [i.e., Plaintiff and his manager, Jeffrey Levin] in their heads want
             to have good intentions, but they take on so many projects and so
             many different ideas, and Logan’s constantly saying so many different
             things, that they literally can’t do all of it.

       Schipelliti responded in relevant part by agreeing with Findeisen’s impression that Plaintiff

and his manager “want[ed] to have good intentions”:

             [W]e had always believed that they really did have good
             intentions. But we always used the word incompetence . . . . Even up
             until right now, like I truly believe that Jeff really meant to do well
             with the project. Same with Logan [i.e., Plaintiff]. You could hear it
             in Logan’s voice. In that, I think it was the only AMA that he had,
             back in like the first week of October [2021], you could hear in his
             voice that he really wants this project to be successful . . . . All that
             stuff that a lot of people probably think was him trying to hype people
             up to do a cash grab—I never think that that’s what it was about. I
             think that they just meant well but had the wrong team working for
             them at the beginning and then I think they were just in the constant
             rat race of trying to band-aid everything up.

       During Findeisen’s investigation, he also spoke with a one-time associate of Ibanez who

provided him with a group text message string between Plaintiff and the project’s co-founders. In

trying to convince his inside source to allow him to excerpt portions of that string in his YouTube

series, Findeisen told his source that the portions he wanted to use were those in which Plaintiff

and Greenbaum were fighting about Greenbaum blaming bots for trading activity involving the

ZOO Token, an explanation that Plaintiff had found “hard to believe.” Findeisen told his source

that the exchanges provide “such important context because it shows that Jake [Greenbaum] was

trying to pull a fast one as the only one who truly understood crypto at the time.” Findeisen

sent that message on October 27, 2022. But four days earlier he had omitted Greenbaum’s name



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altogether from his presentation to the Government about CryptoZoo, instead alleging that Plaintiff

had “targeted unsophisticated investors” to defraud through the crypto project.

         Even more revealing, Findeisen had performed an independent blockchain analysis and

determined that Ibanez had personally made approximately $1.7 million and Greenbaum

approximately $6 million from the surreptitious sale of ZOO Tokens—with Greenbaum disputing

it was that amount but actually conceding to Findeisen that it was at least a “few million [dollars].”

Findeisen had also learned through his analysis that neither Plaintiff nor his manager had ever sold

a single ZOO Token. Under these circumstances, one might wonder what portion of Findeisen’s

presentation to the Government focused on the apparent wrongdoing he had uncovered by Ibanez

or Greenbaum. The answer would be none: Findeisen made no mention of either Ibanez or

Greenbaum in his “whistleblower report.” Nor did Findeisen convey to the Government in his

presentation that there was no evidence that Plaintiff—the supposed fraudster—had profited from

the project in any way, and that in fact his analysis tended to disprove any such notion.

         Defendant Findeisen’s presentation—by his own words “an encapsulation of the entire

CryptoZoo scheme”—did not arise from a sloppy investigative effort; it appears to have been a

deliberate attempt to advance a false narrative.1 The reason that Findeisen misled the Government

so brazenly, of course, was that his goal was to prompt the Government to investigate and build

cases against Plaintiff, specifically—whom he had never even spoken to about the project2—in

order to further harm Plaintiff and, he hoped, ultimately claim credit and raise his own profile in

the event the investigations resulted in criminal charges or civil penalties against him. After all, it


         1
            The irony is that despite repeatedly accusing Plaintiff of wrongdoing without any basis, Title 18, United
States Code, Section 1001 makes it a federal crime to make a “materially false, fictitious, or fraudulent statement or
representation” to an agent or agency of the federal Government.
         2
            Plaintiff received his first email from Defendant Findeisen on December 24, 2022, the day after Findeisen
released the final part of his three-part series.


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would not raise his profile to claim credit for helping the Government hold Ibanez or Greenbaum

accountable, or for that matter to focus his upcoming “exposé” on those two, because they were

not public figures who could headline his features, drive traffic to his platform, increase the

subscribership of his soon-to-be-launched Patreon account, and create revenue. Plaintiff, however,

was a different story. Findeisen knew his audience despised Plaintiff, and he catered to that bias.

They would not want to hear that Plaintiff was not a knowing participant in any “CryptoZoo

scheme” that Findeisen uncovered.3

         Findeisen’s efforts were “successful” in that they resulted in the Government, including the

SEC, running with his false scam allegations and opening investigations in early 2022, shortly

after the release of his series. Plaintiff fully complied and cooperated with the Government’s

investigations. In fact, several years later, in March 2025, the SEC informed Plaintiff that its

investigation of CryptoZoo had been closed, having decided to take no action against Plaintiff.4

Any other Government investigations, should they even still exist, have been dormant for more

than two years.

                        The Holland Litigation (the Claimed “First-Filed” Case)

         Contemporaneously with the release of his YouTube series, Defendant Findeisen

coordinated with his attorney friend and fellow online influencer, non-party Thomas Kherkher,5 to

turn his reporting into a lawsuit. On February 2, 2023, approximately six weeks after Defendants



         3
           As one of Defendant Findeisen’s YouTube influencer peers recently opined to Plaintiff’s counsel, Findeisen
“does know his audience well and they don’t like to hear someone not being labeled as the villain. . . . . I just think he
(and many others) aren’t incentivized to make someone look less guilty than they are or add nuance when it should be
expressed, simply because their audience just wants the subject to be labeled as the villain.”
        4
           Defendants’ Motion refers to the SEC also investigating another cryptocurrency project called Dink Doink.
See Mot. at 4. Although Plaintiff disputes the extent of his connection to that project, the SEC informed Plaintiff at
the same time that it had also closed its investigation into Dink Doink.
         5
             Kherkher is a content creator who publishes videos on YouTube under his online persona, “Attorney Tom.”

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released the third and final part of their series, Kherkher filed the Holland litigation. The operative

First Amended Class Action Complaint in that case is brought on behalf of three putative class

representatives and 137 individual plaintiffs who purchased CryptoZoo NFTs and ZOO Tokens.

See generally Holland Litigation, Dkt. No. 81. The 27-count Class Action Complaint asserts

claims against Plaintiff and six co-defendants for fraud, fraudulent misrepresentation, negligence,

unjust enrichment, civil conspiracy to defraud, aiding and abetting fraud, breach of express and

implied contract, and violations of the federal RICO statute, Rules 10b-5 and Section 20(a) of the

Securities Exchange Act, the Commodities Exchange Act, and consumer protection statutes of

Arizona, California, Colorado, Florida, Iowa, Illinois, Massachusetts, North Carolina, New Jersey,

Nevada, New York, Pennsylvania, and Texas. Plaintiff and several of his Holland co-defendants

filed motions to dismiss in late August and early September 2024, and those motions are pending.

                             Defendants’ Motion to Transfer and Stay

       On April 15, 2025, ten months into this case, Defendants filed the Motion to Transfer and

Stay that is now before the Court. Defendants invoke the “first-to-file” rule and ask the Court to

transfer the case to the Holland Court and stay the case pending a ruling on their Motion.

Notwithstanding that the relief they seek turns on whether the issues in this case “substantially

overlap” with the issues in Holland, Defendants devote the majority of their Motion to cherry-

picking and distorting evidence in an attempt to convince the Court that Plaintiff is engaging in

abusive litigation tactics through this lawsuit, and that as a result the Court should look past the

untimeliness and inequity of the Motion grant it anyway. But it is Defendants who are acting in

bad faith and attempting to weaponize the legal process against Plaintiff, not the other way around.

       Defendants start their Motion with a section titled “CryptoZoo investigations,” in which

they excerpt and highlight from Government documents issued to Plaintiff in relation to the



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project. Defendants do so not because Government investigations have some bearing on the first-

to-file inquiry—they do not—but rather because they believe the very existence of investigations

will tend to substantiate Defendant Findeisen’s scam allegations in the eyes of the Court and also

give credence to their narrative about the motivations behind this lawsuit. But with the benefit of

the above context, the investigations are best understood as evidence of the malice underlying the

statements at issue in this case: Defendants are citing for validation investigations that were, by

all indications, a byproduct of their own CryptoZoo disinformation campaign against Plaintiff.

       Defendants assert that this case was brought in order to circumvent the discovery stay in

Holland and obtain discovery “against the Government,” whatever that means. See Mot. at 1.

Defendants’ theory makes little sense. It is unclear how Defendants believe any discovery that

Plaintiff receives from Defendants in this case will help him in Holland. The Holland plaintiffs,

on the other hand, are likely beneficiaries of the discovery process unfolding here—because

unknown to Plaintiff until recently, Findeisen was long ago engaged on their behalf as a consulting

expert. Moreover, Defendants’ suggestion that Plaintiff is motivated to obtain discovery relating

to the investigations is undermined by the fact that those investigations are closed and/or inactive,

and it is Defendants—not Plaintiff—who have subpoenaed the Government for both documents

and testimony.

       Defendants also assert that this case was brought to “punish Coffeezilla” and “make him a

cautionary tale to other critics.” Mot. at 8. The messages that Defendants cite in support of that

claim are from shortly after Defendants’ YouTube series was released and pre-date the libelous

statements at issue in the case. That said, even the cited messages reflect Plaintiff’s conviction in

the falsity of Defendants’ portrayal of him as a scammer, and further reflect that in contemplating

legal action back then, Plaintiff had been motivated by a desire for the public to have full



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transparency into what actually happened with CryptoZoo in order to clear his name and hold

Defendant Findeisen accountable for actual wrongdoing. See, e.g., Mot. at Ex. D (Plaintiff

acknowledging that if he brings a lawsuit “everyone will see what happened”); Exhibit 2 (a portion

of the same exchange as Ex. E to the Motion) (Plaintiff discussing how Findeisen knew there are

“more clicks” if he accuses Plaintiff of wrongdoing, and thus “put out a hit piece” that was false

“so he could enrich himself”); id. (Plaintiff explaining that he had been “trying to make

[CryptoZoo] work” the entire time). The messages do not reflect an improper motivation; they

reflect the legitimate driving force behind every defamation case.

       Simply put, Defendants’ Motion invites the Court to look past the first-to-file standard and

accept their false portrayal of Plaintiff’s motivations and the merits of the case. The Court should

not do so. As explained below, none of the relevant factors support Defendants’ request for relief.

                                      LEGAL STANDARD

       Under the “first-to-file” rule, a federal court may decline to hear a case when an earlier-

filed case pending in a different federal court raises issues that “substantially overlap” with the

issues in the second-filed case. See Int’l Fid. Ins. Co. v. Sweet Little Mexico Corp., 665 F.3d 671,

677–78 (5th Cir. 2011). “Where the overlap between the two suits is less than complete, the

judgment is made case by case, based on such factors as the extent of the overlap, the likelihood

of conflict, the comparative advantage and the interest of each forum in resolving the dispute.” Id.

(internal citation and quotation marks omitted). “Even when there is substantial overlap, however,

the second-filed court may nonetheless decline to apply the first-to-file rule based on ‘compelling

circumstances.’” LifeNet, Inc. v. U.S. Dep’t of Health & Human Servs., 617 F. Supp. 3d 547, 556

(E.D. Tex. 2022). Exceptions to the first-to-file rule “are not rare, and are made when justice or

expediency requires.” Garmin Ltd. v. TomTom, Inc., No. 06-CV-00338, 2007 WL 708587, *1 (E.D.



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Tex. Mar. 5, 2007) (quoting Genetech v. Eli Lilly & Co., 998 F.2d 931, 937 (Fed. Cir. 1993))

(internal quotation marks omitted). The burden is on the party invoking the rule to prove that its

application is warranted. Jones v. Xerox Commercial Solutions, LLC, No. 13-CV-00650, 2013 WL

3245957, *2 (S.D. Tex. June 26, 2013).

                                          ARGUMENT

   A. Defendants’ Motion Is Untimely.

       The Court should deny Defendants’ Motion as untimely without even considering their

arguments under the first-to-file rule. “A party seeking transfer should not delay filing and must

act with ‘reasonable promptness.’” Nitride Semiconductors Co., Ltd. v. Lite-On Tech. Corp.,

No. 21-CV-00183, 2022 WL 4111885, *1 (W.D. Tex. Sept. 8, 2022) (quoting Peteet v. Dow Chem.

Co.,

868 F.2d 1428, 1436 (5th Cir. 1989)). Courts regard untimely motions to transfer with “extreme

disfavor.” Ravgen, Inc. v. Lab. Corp. of Am. Holdings, No. 20-CV-00969, 2022 WL 272115, at *2

(W.D. Tex. Jan. 28, 2022) (internal citation and quotation marks omitted). Far from acting with

reasonable promptness, Defendants waited approximately ten months to file their Motion, despite

knowing about the Holland litigation and the supposed overlap between the cases since the day

this case was filed. See FirsTier Bank, N.A. v. G-2 Farms, No. 4:95-CV-03118, 1996 WL 539217,

*7 (D. Neb. Mar. 11, 1996) (denying motion to stay under the first-to file rule where the defendants

had waited eleven months to file their motion, and reasoning that “defendants’ failure to timely

raise th[eir] motion” had “thwarted to a great extent” the objectives underlying the rule) (compiling

cases); cf. IBEW-NECA Sw. Health & Benefit Fund v. Duvall Elec., LLC, 2011 WL 711005, *4




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(N.D. Tex. Feb. 28, 2011) (denying an untimely motion to transfer and explaining the prejudice

and judicial waste it would cause).6

         The untimeliness of Defendants’ Motion also constitutes a violation of the Local Rules.

Pursuant to Local Rule CV-3(a), “[a]ll parties are required to advise the court of any related cases,

through means of the Civil Cover Sheet or otherwise.” At the outset of this case, Plaintiff indicated

on his Civil Cover Sheet the absence of any related cases. See Dkt. No. 1-2. Defendants saw no

reason to advise the Court otherwise—e.g., through a Notice of Related Case, the Parties’ Rule

26(f) Report, or any other filing—until the filing of their Motion; instead, they proceeded to litigate

this case aggressively for almost an entire year. Now that they perceive a strategic benefit for

changing course, Defendants have come to the conclusion that this case and Holland are not only

“related,” but “more than merely related,” as the cases must be to support the application of the

first-to-file rule. In re Toyota Hybrid Brake Litig., No. 4:20-CV-00127, 2020 WL 6161495, *5

(E.D. Tex. Oct. 21, 2020) (emphasis added). “Denial of a motion as the result of a failure to comply

with local rules is well within a district court’s discretion,” and the Court should deny Defendants’

Motion on this basis, as well. CHU de Quebec — Universite Laval v. Dreamscape Dev. Grp.

Holdings, No. 4:21-CV-00182, 2023 WL 2695092, *3 (E.D. Tex. Mar. 29, 2023).

    B. This Case Does Not “Substantially Overlap” with the Holland Litigation.

         In the event the Court is inclined to consider the merits of Defendants’ Motion

notwithstanding its tardiness, the Motion should nevertheless be denied because this case does not

“substantially overlap” with the Holland litigation. As a threshold matter, although Defendants



          6
             The court in IBEW-NECA Southwest Health & Benefit Fund considered a motion to transfer under 28
U.S.C. § 1404(a), not the first-to-file rule. However, courts in this District routinely use the § 1404(a) convenience
factors in evaluating motions brought under the first-to-file rule, recognizing the overlap between those factors and
both the substantial overlap analysis and the compelling circumstances analysis. See, e.g., Hart v. Donostia LLC, 290
F. Supp. 3d 627, 633, n.2 (W.D. Tex. 2018) (“Accordingly, the Court considers the § 1404(a) convenience factors
when deciding whether to apply the first-to-file rule.”).

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correctly observe that “[t]he first-to-file rule does not require identical parties,” it is also true that

“the fact that the parties are different cuts against an argument for substantial overlap.” Buckalew

v. Celanese, Ltd., No. 05-CV-00315, 2005 WL 2266619, *3 (S.D. Tex. Sept. 16, 2005) (internal

citation omitted). Here, Defendants are not parties to Holland; Plaintiff is the only party that is

common to both cases. But in Holland, he is one of seven defendants, and the case has

approximately 140 identified plaintiffs.

         According to Defendants, the cases substantially overlap because the “core issue” in both

cases is “whether [Plaintiff] scammed his fans by promoting his CryptoZoo project and enticing

fans to purchase Zoo Tokens and CryptoZoo NFTs.” Mot. at 16. Although Plaintiff’s intent with

regard to CryptoZoo is an issue that could arise in both cases, it is hardly the core issue in either

case. For one, it is impossible to identify a single, core issue in Holland, especially since it is

unclear at this stage which of the 27 causes of action, if any, will even survive dismissal.7 But not

only is the issue of whether Plaintiff intended to scam his fans irrelevant to the claims brought

against Plaintiff’s individual co-defendants, it is not even an element of all of the claims brought

against him. See, e.g., Holland Litigation, Dkt. 81, First Am. Compl. at Counts II–III (breach of

contract), Count IV (unjust enrichment), and Count V (negligence). And in this case, although

Defendants will be entitled to put on a defense that their allegedly libelous statements were truthful,

at the end of the day the claims are against Defendants, and it is their conduct that is central to the

case. As Plaintiff has been expressing consistently throughout the case, the core issue here is

whether Defendants made the statements at issue with actual malice, which will turn on what they

knew and believed at the time of the statements. The claims in Holland do not concern Defendants’

conduct or mindset in any way, shape, or form.


         7
           Or, for that matter, whether a class will eventually be certified, and if so whether and how that will impact
which claims are viable.

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       Given that the overlap between the two cases is “less than complete,” the Court should

consider such factors as “the extent of the overlap, the likelihood of conflict, and the comparative

advantage and interest of each forum in resolving the dispute.” Hart, 290 F. Supp. 3d at 632.

Courts evaluate the cases holistically; a “high degree of overlap” on one issue is not necessarily

enough to find substantial overlap—even where, as alleged here, the cases involve the same

underlying events or subject matter. See TravelPass Grp., LLC v. Caesars Entm’t Corp., No. 5:18-

CV-00153, 2019 WL 3806056, **10, 15 (E.D. Tex. May 9, 2019) (finding no substantial overlap

despite “similar allegations regarding the existence of an unlawful agreement between [] hotel

companies in violation of antitrust laws,” because “while there might be a high degree of overlap

on the issue of the alleged conspiracy in both cases, this lawsuit hinges on other issues as well

(e.g., issues of antitrust standing and damages that are unique to [plaintiff]”), R&R adopted by

2019 WL 4071784 (E.D. Tex. Aug. 29, 2019).

       Although Defendants’ argument of substantial overlap has some “superficial appeal” given

that CryptoZoo is at the heart of both cases, the sheer volume of parties and claims in Holland,

and the character of those claims, speaks to “significant differences” between the cases and

underscores why application of the first-to-file rule would be inappropriate here. See Hart, 290 F.

Supp. 3d at 632 (“[T]he [first-filed] litigation includes claims based on Illinois state law that are

not at issue in this case. The [first-filed] litigation also includes various franchisor entities and

franchisee defendants that are not named in this case. Given those differences, the likelihood of

conflict is minimal, and to the extent a conflicting ruling could arise, issue preclusion is an

appropriate method to address that concern.”); Stannard v. Nat’l Indoor RV Ctrs., LLC, No. 18-

CV-00366, 2018 WL 3608560, at *2 (E.D. Tex. July 27, 2018) (finding no substantial overlap




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despite “similar claims that arise out of similar operative facts” because “[t]he cases involve

different defendants and the claims are not identical”).8

    C. Compelling Circumstances Weigh Heavily Against a Transfer and Stay.
       Even if the Court determines there is substantial overlap between this case and the Holland

litigation, the Court should decline to apply the first-to-file rule because there are compelling

circumstances that weigh heavily against a transfer and stay.

    (1) There are significant procedural differences between this case and the Holland
        litigation.

         Holland is a putative class action. This case is an individual action brought against

Defendants who are not parties to that case. Defendants have not cited any examples of a court

applying the first-to-file rule to transfer a second-filed case under such circumstances, and there is

a reason for that. When the rule is invoked in relation to a first-filed class action, the second-filed

case typically involves a competing class action, or a plaintiff asserting similar claims against the

same defendant as in the first-filed case. Under the distinguishable circumstances presented here,

transferring the case would necessarily subject it to delays and complications that do not exist

outside of the class context. For example, the Holland plaintiffs will be required to meet the criteria

of Federal Rule 23 before they will be able to litigate their claims on a class-wide basis, inevitably

stalling the resolution of Plaintiff’s claims. As a result, transferring and staying this case would

not serve the interests of convenience, efficiency, or sound judicial administration that the first-to-

file rule is intended to promote. See TravelPass Grp., LLC, 2019 WL 3806056, at *16 (denying a

motion to transfer under both the first-to-file rule and § 1404(a), and agreeing with the plaintiffs


          8
             It bears emphasis that the implication of Defendants’ position is that venue was preordained for the wrongs
at issue in this case before they were even committed, because Defendant Findeisen did not even make the libelous
statements at issue until after Holland was filed. Holland was filed on February 2, 2023. Findeisen published the
statements at issue on June 29, 2023 (Count I); June 30, 2023 (Count II); and January 5, 2024 (Count III).



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that a transfer of their individual action to a first-filed class action would “not render the trial of

this case more ‘easy, expeditious, and inexpensive’” given the “procedural and substantive

differences” between the two cases).

    (2) This case has developed further than the Holland litigation.

        “Courts reject the first-to-file rule when the second filed action has developed further than

the initial suit.” AEI Life, LLC v. Lincoln Benefit Life Co., 305 F.R.D. 37, 45 (E.D.N.Y. 2015);

Young v. Trump, 506 F. Supp. 3d 921, 933 (N.D. Cal. 2020) (“[W]here the later-filed action has

progressed further, efficiency considerations also disfavor application of the [first-to-file] rule.”).

That is the case here. Although the Parties have had preliminary discussions about jointly

requesting a brief extension of the pretrial deadlines under the current Scheduling Order—with the

current deadline for fact discovery approaching on May 16, 2025 [see Dkt. No. 18]—there is no

question that the Parties are deep into the discovery process and well on their way to preparing this

case for trial. As Defendants have acknowledged, the Parties have spent “significant time and

resources on discovery.” See Dkt. No. 46 at 2. The Parties have already litigated multiple discovery

disputes, exchanged thousands of documents, conducted several depositions, and designated

experts, and they recently have been conferring about resolving pending discovery disputes,

scheduling party and expert depositions, and identifying a mediator. By comparison, little has

happened in the Holland litigation to this point.9 Under the PSLRA, discovery is stayed pending

resolution of the defendants’ respective motions to dismiss, which have been pending since late

August and early September of last year. See Holland Litigation, Dkt. Nos. 85–87.

    (3) Transferring and staying this case would unduly delay its resolution.


        9
             Holland was stayed for a few months in 2023 while the parties pursued mediation, but the mediation
resulted in an impasse. See Holland Litigation, Dkt Nos. 38–39. The Holland Court has yet to enter a scheduling
order.


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         Relatedly, courts consider the extent to which a transfer is likely to impact the progression

of the case—i.e., whether a transfer would have “future efficiency consequences.” Henry v. Home

Depot, USA, Inc., No. 14-CV-04858, 2016 WL 4538365, *3 (N.D. Cal. Aug. 31, 2016) (emphasis

added). For reasons already addressed, in this case a transfer is likely to result in significant further

delays, bringing the case to a complete standstill for an indefinite period of time. See LifeNet, Inc.,

617 F. Supp. 3d at 557 (denying a motion to transfer under the first-to-file rule, in part because a

transfer would “likely delay resolution of this case”); TravelPass Grp., LLC, 2019 WL 3806056,

at *16 (same, and agreeing with the plaintiffs that a transfer “would cause significant delay to the

resolution of [their] claims”); cf. Moto Photo, Inc. v. K.J. Broadhurst Enters., Inc., No. 01-CV-

02282, 2003 WL 298799, *5 (N.D. Tex. Feb. 10, 2003) (“The timing of plaintiff’s motion creates

a substantial possibility of undue delay if the case is transferred and may be denied on that basis

alone.”). For a variety of reasons, class actions are slower-moving by their nature.10 From

Defendants’ perspective, that is the entire point. Defendants have not been subtle about their desire

to delay this case, which is why they hurriedly prepared and filed this Motion just two weeks after

the Magistrate Judge issued a Report and Recommendation in which he recommended denying

their Motion for Judgment [Dkt. No. 41, 74] and simultaneously denied their request to stay

discovery [Dkt. No. 46].

    (4) Transferring and staying this case would prejudice Plaintiff.

         For many of the same reasons that comprise the compelling circumstances discussed above,

transferring and staying this case would prejudice Plaintiff, who has a legitimate interest in the




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             Even when the Holland Court issues a ruling on the pending motions to dismiss, it is unclear whether
leave to amend will be granted for any claims that are dismissed and/or whether the plaintiffs will avail themselves of
any such opportunity, which could result in an even lengthier stay as the process repeats itself. Simply put, Holland
has no realistic chance of ever catching up to this case.


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expeditious resolution of his case. See IBEW-NECA Sw. Health & Benefit Fund, 2011 WL 711005,

at *4 (discussing the prejudice that plaintiff would suffer as a result of delay and duplication of

efforts in the event of a transfer). Plaintiff continues to suffer reputational harm as a result of

Defendants’ statements accusing him of being a scammer because, as courts have acknowledged,

“[w]hen a defamatory message is posted on the Internet”—as Defendants statements were in this

case—“the falsehood spreads like a virulent virus across digital space.” In re Murray, No. 3:20-

BK-01587, No. 20-AP-00032, 2023 WL 310344, *7 (Bankr. S.D. Miss. Jan. 18, 2023) (quoting

1 Rodney A. Smolla, Law of Defamation, § 1:27.50 (2d ed.)). The only way for Plaintiff to remedy

that harm is to obtain a judgment declaring the falsity of Defendants’ statements.

       Moreover, Defendants’ delay in bringing their Motion has already provided an unfair,

material advantage to the Holland plaintiffs; granting the Motion would only exacerbate that

advantage by stymying Plaintiff’s ability to vindicate his own rights. Defendant Findeisen is a

consulting expert for the Holland plaintiffs, meaning he is an agent of the plaintiffs’ counsel.

Holland has not yet progressed to the stage of expert disclosures, and thus while the relationship

has long been known to Defendants, it was unknown to Plaintiff until it was revealed in the course

of discovery in this case when Defendants invoked the work product doctrine and Rule 26(b)(4)(D)

as a basis for refusing to produce Findeisen’s communications with his friend, attorney Kherkher.

By waiting to invoke the first-to-file rule until after Plaintiff had substantially fulfilled his

production obligations in this case, Findeisen effectively secured for his Holland clients a one-

sided workaround to the discovery stay that is currently in place. Indeed, the Holland plaintiffs

will have the benefit of thousands of documents and communications not only from Plaintiff, but

from several of Plaintiff’s co-defendants in that case who produced documents in this case




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pursuant to non-party subpoenas. Plaintiff, meanwhile, has not received any reciprocal discovery

from the Holland plaintiffs given that they are not parties to this case.




   (5) Defendants’ Motion is motivated by improper strategic considerations.

       “The letter and spirit of the first-filed rule . . . are grounded on equitable principles,” and

as such, “bad faith and inequitable conduct justify departure from the first-filed rule.” FirsTier

Bank, N.A., 1996 WL 539217, at *7 (internal citation and quotation marks omitted). One example

of such conduct arises when a party invokes the first-to-file rule on the heels of an unfavorable

ruling. See Samsung Elec. Co., Ltd. v. Rambus, Inc., 386 F. Supp. 2d 708, 724–25 (E.D. Va. 2005)

(denying motion to transfer venue and reasoning that “[t]he Court should not ignore the fact that a

party has received an unfavorable ruling in one forum, and as a result, attempted to lay venue in a

second forum,” and finding it was “apparent that [the defendant] desperately wanted to avoid

litigation in this forum after the Court’s ruling”). In addition to their clear attempts at delay,

Defendants’ decision to bring their Motion immediately after the issuance of an unfavorable Report

and Recommendation on their Motion for Judgment raises an inference of forum-shopping.

Defendants cannot overcome that inference because they do not actually articulate any legitimate

reason for a transfer and stay other than their frustration with the existence of this case and their

false assertion that it was brought for improper reasons.

                                          CONCLUSION

       For all the reasons set forth above, and “[g]iven the time and resources expended toward”

this case already, “giving effect to [Defendants’] conception of the first-to-file rule would actually

undercut the values of economy, consistency, and comity that the rule is designed to maximize.”


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In re Toyota Hybrid Brake Litig., 2020 WL 6161495, at *8. Defendants’ Motion to Transfer and

Stay should be denied. 11



May 6, 2025                                             /s/ Andrew C. Phillips
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             With regard to Defendants’ request for a stay pending a ruling on the Motion, Plaintiff does not dispute
that the Court has the inherent authority to control its own docket. Plaintiff does dispute Defendants’ argument that
the Fifth Circuit has “endorsed” a stay pending a ruling on a first-to-file motion. See Mot. at 18. Neither of their cited
cases support that assertion. All of the reasons addressed in this Response as to why the Court should exercise its
discretion to deny a transfer under the first-to-file rule also weigh against a stay pending resolution of the Motion;
Defendants have not articulated any good cause or any unique or special circumstances that would justify a stay.


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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the May 6, 2025, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all counsel of

record who are deemed to have consented to electronic service.

                                                     /s/ Andrew C. Phillips




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